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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA

 (1) EDWARD R. STAMPS, individually and    )
 (2) TINA L. STAMPS, individually,         )
                                           )
                    Plaintiffs,            )
                                           )
 vs.                                       ) Case No. 21-cv-00254-JFH-SH
                                           )
 (1) SERGIO B. NAVARETTE, individually )
 and                                       )
 (2) RAPID LOGISTICS, LLC, a Texas Limited )
 Liability  Corporation,      d/b/a RAPID )
 TRANSPORT and                             )
 (3) RAPID LEASING TRUCKING, LLC,          )
                                           )
                    Defendants.            )

                            ANSWER OF RAPID LOGISTICS, LLC

        Defendant Rapid Logistics, LLC (“Rapid Logistics”), by and through its attorneys of

 record, for its Answer to the Petition of Edward Stamps and Tina Stamps (“Plaintiffs”) deny

 every material allegation contained therein, except as specifically addressed below as follows:

        1.      Rapid Logistics is without sufficient information to admit or deny the allegations

 contained in Paragraph One (1) of Plaintiffs’ Petition and as such denies same.

        2.      Rapid Logistics is without sufficient information to admit or deny the allegations

 contained in Paragraph Two (2) of Plaintiffs’ Petition and as such denies same.

        3.      Rapid Logistics is without sufficient information to admit or deny the allegations

 contained in Paragraph Three (3) of Plaintiffs’ Petition as worded and as such denies same.

        4.      Admitted.

        5.      Admitted.

        6.      Rapid Logistics is without sufficient information to admit or deny the allegations

 contained in Paragraph Six (6) of Plaintiffs’ Petition as worded and as such denies same.
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         7.      Rapid Logistics is without sufficient information to admit or deny the allegations

 contained in Paragraph Seven (7) of Plaintiffs’ Petition and as such denies same.

         8.      Rapid Logistics denies the allegations contained in Paragraph Eight (8) of

 Plaintiffs’ Petition.

         9.      Rapid Logistics denies the allegations contained in Paragraph Nine (9) of

 Plaintiffs’ Petition in addition to the unnumbered WHEREFORE paragraph following Paragraph

 Nine (9) thereof.

         10.     Rapid Logistics is without sufficient information to admit or deny the allegations

 contained in Paragraph Ten (10) of Plaintiffs’ Petition and as such denies same.

         11.     Rapid Logistics is without sufficient information to admit or deny the allegations

 contained in Paragraph Eleven (11) of Plaintiffs’ Petition and as such denies same.

         12.     Rapid Logistics denies the allegations contained in Paragraph Twelve (12) of

 Plaintiffs’ Petition in addition to the unnumbered WHEREFORE paragraph following Paragraph

 Twelve (12) thereof.

         13.     Rapid Logistics is without sufficient information to admit or deny the allegations

 contained in Paragraph Thirteen (13) of Plaintiffs’ Petition as worded and as such denies same.

         14.     Rapid Logistics is without sufficient information to admit or deny the allegations

 contained in Paragraph Fourteen (14) of Plaintiffs’ Petition as worded and as such denies same.

         15.     Rapid Logistics denies the allegations contained in Paragraph Fifteen (15) of

 Plaintiffs’ Petition in addition to the unnumbered WHEREFORE paragraph following Paragraph

 Fifteen (15) thereof.

         16.     Rapid Logistics is without sufficient information to admit or deny the allegations

 contained in Paragraph Sixteen (16) of Plaintiffs’ Petition and as such denies same.




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         17.     Rapid Logistics denies the allegations contained in Paragraph Seventeen (17) of

 Plaintiffs’ Petition.

         18.     Rapid Logistics denies the allegations contained in Paragraph Eighteen (18) of

 Plaintiffs’ Petition in addition to the unnumbered WHEREFORE paragraph following Paragraph

 Eighteen (18) thereof.

                                   AFFIRMATIVE DEFENSES

         Rapid Logistics asserts the following potentially applicable affirmative defenses, subject

 to confirmation through discovery.

         1.      Plaintiffs have failed to state a claim upon which relief can be granted;

         2.      Plaintiffs' damages, if any, are the result of the negligence of Edward Stamps over

 whom Rapid Leasing had no control or authority to control;

         3.      Plaintiff Edward Stamps’ negligence was an intervening or supervening cause for

 the accident in question;

         4.      Plaintiff Edward Stamps’ own negligence was of such a degree as to preclude

 recovery by Plaintiffs herein pursuant to contributory negligence and/or comparative fault;

         5.      Rapid Logistics’ negligence, which is denied, was not the proximate or direct

 cause of the alleged injuries or damages claimed by Plaintiffs herein;

         6.      Rapid Logistics asserts that any damages, losses or claims by Plaintiffs should be

 strictly apportioned on the basis of fault, several liability and contributory negligence for all

 parties and potential non-parties as to be determined through discovery;

         7.      Rapid Logistics asserts the doctrines of waiver, estoppel, laches and/or the

 applicable statute of limitations as defenses;




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        8.      All or some of Plaintiffs' claimed injuries and damages are or may be the result of

 preexisting injuries, conditions or malingering not causally related to or connected to the

 accident in question;

        9.      All or some of Plaintiffs' claimed medical expenses were not reasonable, were

 excessive, were directed by counsel for the purpose of litigation, were not related to the accident

 in question or were not medically necessary or were charged at a rate in excess of applicable

 medical standards;

        10.     Rapid Logistics asserts the evidentiary limitation and substantive restriction on

 admissible medical expenses contained in 12 O.S. § 3009.1 as an affirmative defense;

        11.     General denial;

        12.     Lack of medical causation of injuries, damages, conditions and malingering;

        13.     Rapid Logistics reserves the right to amend this Answer, the affirmative defenses

 asserted herein or to further plead upon the completion of discovery.

        WHEREFORE, having fully answered, Defendant Rapid Logistics respectfully prays that

 Plaintiffs take nothing by way of their Petition and that judgment be entered for Rapid Logistics

 together with its costs, fees and expenses of this action with such other relief as this Court deems

 just and proper.




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                                               Respectfully submitted,

                                               PIERCE COUCH HENDRICKSON
                                                BAYSINGER & GREEN, LLP
                                               s/ Jake G. Pipinich
                                               Jake G. Pipinich, OBA # 22687
                                               Amy Bradley-Waters, OBA No. 16480
                                               P.O. Box 239
                                               Tulsa, Oklahoma 74101
                                               Telephone: 918-583-8100
                                               Facsimile: 918-583-8107
                                               jpinpinich@piercecouch.com
                                               abradley-waters@piercecouch.com
                                               Attorneys for Defendant,
                                               Rapid Logistics, LLC

                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 29, 2021, I electronically transmitted a full, true and correct
 copy of the above and foregoing document to the Clerk of Court using the ECF System for filing
 and transmittal of Notice of Electronic Filing to the following ECF registrants:

 Nathan E. Barnard
 Barnard Law Firm
 3501 E. 31st St.
 Tulsa, OK 74135
 Facsimile: 918-587-4767
 nbarnard@barnardlawfirm.com

 Attorneys for Plaintiffs
                                               s/ Jake G. Pipinich




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